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Plaintiff, :|S_(JV _ n 3L| ;')`Bq m
_VS_ CAsE N0.25

FORTlVA FlNANClAL, LLC,
and ATLANTICUS HOLDINGS
CORPORATION,

Defendants.

COMPLAlNT
Plaintiff, TERRI CASTELO, by and through his undersigned counsel, sues the
Defendants, FORTIVA FINANCIAL, LLC, and ATLANTICUS l-lOLDINGS CORPORATION,
and in support thereof respectfully alleges the following
l. Plaintiff alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et
Seq. (“TCPA”) and the Florida Consuiner Collections Practices Act, Chapter 559, et seq.
(“FCCPA”), and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).
INTRODUCTION

2. The TCPA was enacted to prevent companies like FORTIVA FINANCIAL, LLC,
and ATLANTICUS HOLDINGS CORPORATION from invading American citizen’s privacy
and prevent abusive “robo-ealls.”
3. “The TCPA is designed to protect individual consumers from receiving intrusive and
unwanted telephone calls." Mims v_ Ar'row Fz`n. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,

L.Ed. 2d 881 (2012).

    

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4. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256 scourge of
modern civilization, they Wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the
wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
subscribers another option: telling the autodialers to simply stop calling.” 0s0ri0 v. State Farm

Bank F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

 

5. According to the Federal Communications Commission (FCC), “Unwanted calls and
texts are the number one complaint to the FCC. There are thousands of complaints to the FCC

every month on both telemarketing and robocalls. The FCC received more than 215,000 TCPA

complaints in 2014." hgps://www.fcc.gov/document/fact-sheet-consumer-protection-proposal

JURISDICTION AND VENUE

6. This is an action for damages exceeding Seventy-Five Thousand Dollars ($75,000.00)
exclusive of interest and costs.

7. Jurisdiction and venue for purposes of this action are appropriate and conferred by 28
U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA
and/or by F.S. § 47.011 and/or by 28 U.S.C. § 1332, diversity jurisdiction

8. Subject matter jurisdiction, federal question jurisdiction, for purposes of this action is
appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts shall have
original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the
United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v.
Arrow Fz`n. Servs., LLC, 132 S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B., 746

F.3d 1242, 1249 (1 lth Cir. 2014).

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9. Venue is proper in this District because the Plaintiff resides in this District (Duval County),
the phone calls were received in this District, and the Defendants transact business in Duval
County, Florida.

FACTUAL ALLEGATIONS
10. Plaintiff is a natural person, and citizen of the State of Florida, residing iii Duval County,
l Florida, and resides in this District.

11. Plaintiff is a “consumer” as defined in Florida Statute 559.55(2).

12. Plaintiff is an “alleged debtor.”

13. Plaintiff is the “called party.” See Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637,

643 (7th Cir. 2012), reh‘g denied (May 25, 2012).

14. Defendants are “debt collectors” as defined by Florida Statute §559.55(6). Defendants

sought to collect a debt from Plaintiff.

15. The debt that is the subject matter of this complaint is a “consumer debt” as defined by

Florida Statute §559.55(1).

16. Defendant Atlanticus Holdings Corporation (“Atlanticus”), is a Georgia business entity

with an address of 5 Concourse Parkway, Suite 400, Atlanta, Georgia 30328, and is a “person” as

defined by 47 U.S.C.A. § 153(39).

17. Defendant Fortiva Financial, LLC (“Fortiva” and together with Atlanticus, the

“Defendants”), is a Georgia business entity with an address of 5 Concourse Parkway, Suite 400,

Atlanta, Georgia 30328, and is a subsidiary of Atlanticus, and is a “person” as defined by 47

U.S.C.A. § 153(39).

18. Defendants have a registered agent in Florida: Corporation Service Company, 1201 Hays

Street, Tallahassee, FL 32301-2525.

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19. The conduct of the Defendants which gave rise to the cause of action herein alleged
occurred in this District, Duval County, Florida, by the Defendants’ placing of illegal calls to
Duval County, Florida,

20. Defendants, at all material times, were attempting to collect on a debt, (hereinatter the
“subject account”), which Was issued and serviced by Defendants. However, this debt belonged
to a third party and not the Plaintiff. The Plaintiff made this clear to the Defendants on multiple
occasions.

21. Defendants knowingly and/or willfully harassed and abused Plaintiff on numerous
occasions by calling Plaintift`s cellular telephone number up to four (4) times a day during a
time including, but not limited to, March 2015 through the filing of this complaint, with such
frequency as can reasonably be expected to harass, all in an effort related to the collection of the
subject account.

22. Upon information and belief, some or all of the calls the Defendants made to Plaintiff’s
cellular telephone number were made using an “autornatic telephone dialing system” which has
the capacity to store or produce telephone numbers to be called, using a random or sequential
number generator (including but not limited to a predictive dialer) or an artificial or prerecorded
voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer
calls”). Furthermore, Plaintiff will testify that many of the calls at issue were placed by the
Defendant using a “prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

23. Each of the autodialer calls the Defendants made to Plaintiff’s cellular telephone number
Were done without the “prior expressed consent” of the Plaintiff.

24. Plaintiff is the regular user and carrier of the cellular telephone number, (904) ***-6669,

and was the “called party” and recipient of Defendants autodialer calls.

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25 . The autodialer calls from the Defendants came from the telephone numbers including but
not limited to 888-233-9545.
26. The Plaintiff began a non-exclusive log of the calls she received from 888-233-9545 on
or about May 3, 2015, Between May 3, 2015 and August 13, 2015 the Plaintiff logged 139 calls
from the Defendants. The Plaintiff estimates she has received approximately 175 calls total from
the Defendant Without her “prior expressed consent.”
27. On or about May 7, 2015 , Plaintiff told a representative from the Defendants that she did
not have an account with them and that she wanted them to please stop calling her cell phone.
The representative from Defendants would not provide a name; however the representative
advised she Would “take care of it.”
28. The Plaintiff again spoke with representatives from Defendants on May 11, 2015 and
May 15, 2015 and on both occasions requested that they cease calling her.
29. Calls to the Plaintiff’s cellular telephone recorded on the Plaintiff’s call log from 888-
233-9545 include the following dates:

a. 5/4/ 15

b. 5/5/ 15

c. 5/6/ 15

d. 5/7/ 15 (3 calls)

e. 5/8/ 15

f. 5/9/ 15 (2 calls)

g. 5/11/15 (3 calls)

h. 5/12/ 15 (3 calls)

i. 5/13/ 15 (4 calls)

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j. 5/14/15 (4 calls)
k. 5/15/15 (4 calls)
1. 6/26/ 15

rn. 6/27/15

n. 6/28/ 15

o. 6/29/ 15

p. 6/30/ 15

q. 7/1/15 (4 calls)
r. 7/2/ 15 (4 calls)
s. 7/6/15 (4 calls)
t. 7/7/ 15 (4 calls)
u. 7/8/ 15 (4 calls)
v. 7/9/ 15 (3 calls)
w. 7/10/15 (3 calls)
x. 7/11/15

y. 7/12/15

z. 7/13/15 (4 calls)
aa. 7/14/15 (3 calls)
bb. 7/15/15 (4 calls)
cc. 7/16/15 (3 calls)
dd. 7/17/15 (3 calls)
ee. 7/18/15 (2 calls)

ff. 7/19/15

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gg. 7/20/ 15 (4 calls)
hh. 7/21/ 15 (4 calls)

ii. 7/22/15 (3 calls)

jj. 7/23/ 15 (4 calls)
kk. 7/24/15 (3 calls)

ll. 7/25/ 15 (2 calls)
mm. 7/26/ 15

nn. 7/27/ 15

oo. 7/28/ 15 (2 calls)
pp. 7/29/ 15 (2 calls)
qq. 7/30/ 15 (2 calls)

rr. 7/31/ 15 (3 calls)

ss. 8/1/ 15

tt. 8/2/ 15

uu. 8/3/ 15 (4 calls)

vv. 8/4/ 15 (4 calls)
WW. 8/5/ 15 (4 calls)
xx. 8/6/ 15 (4 calls)

yy. 8/8/ 15

zz. 8/9/15

aaa. 8/10/15 (2 calls)
bbb. 8/11/15 2 calls)

ccc. 8/12/15 (2 calls)

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ddd. 8/13/15
30. The Plaintiff also requested that the Defendants stop calling her prior to when she began
keeping a log in May of 2015,
31. The Defendants have a corporate policy to use an automatic telephone dialing system or a
pre-recorded or artificial voice, and to make autodialer calls just as they did to Plaintiff’ s cellular
telephone in this case, with no way for the called party and recipient of the calls, or the
Defendants, to permit the removal of the incorrect number.
32. Despite actual knowledge of their wrongdoing the Defendants continued the campaign of
autodialer calls.
33. Defendants corporate policy is structured as to continue to call individuals like the
Plaintiff, despite the individual, like Plaintiff, advising Defendants to stop calling.
34. Defendants corporate policy provided no means for the Plaintiff to have her cellular
number removed from the call list, or otherwise permit the cessation of and/or suppression of
calls to Plaintiff.
35. Defendants have defended at least one other federal lawsuit alleging similar violations as
stated in this complaint
36. Defendants have numerous complaints against them across the country asserting that
their automatic telephone dialing system continues to call the wrong people or people who have
revoked consent to be called.
37. Defendants knowingly employed methods and/or has a corporate policy designed to
harass and abuse individuals and has set up their autodialer in a manner which makes it virtually

impossible for the autodialer calls to stop.

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38. Defendants knowingly employed methods that did not permit the cessation of or
suppression of autodialer calls to Plaintiff’s cellular telephone.

39. Due to Defendants constant autodialer calls and demands for payment Plaintiff has
suffered statutory and actual damages in the form of emotional distress, frustration, worry, anger,
and/or loss of capacity to enjoy life.

COUNT I
(Violation of the TCPA)

40. Plaintiffre-alleges and incorporates Paragraphs one (1) through thirty-nine (39) above
as if fully stated herein.
41. None of Defendants autodialer calls placed to Plaintiff were for “emergency purposes” as
specified in 47 U.S.C. § 227(b)(l)(A).
42. The Defendants violated the TCPA, with respect to all of its autodialer calls made to
Plaintiff’s cellular telephone number after Plaintiff revoked consent to be called and without
Plaintiff’s prior express consent,
43. The Defendants willfully and/or knowingly violated the TCPA, especially for each of the
autodialer calls made to Plaintiff’s cellular telephone after Plaintiff notified Defendants on May
5, 2015, when Plaintiff again verbally withdrew, revoked, and/or terminated any alleged consent
Defendant believed it had to contact him, and told Defendants to stop calling her.
44. Defendants repeatedly placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendants, FORTIVA FINANCIAL, LLC, and ATLANTICUS HOLDINGS

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CORPORATION, for statutory damages, actual damages, treble damages, punitive damages,
costs, interest, and any other such relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

45. Plaintiff incorporates Paragraphs one (1) through thirty-nine (39) above as if fully set
forth herein.
46. At all times relevant to this action Defendants are subject to and must abide by the law of
Florida, including Florida Statute §559.72.
47. Defendants violated Florida Statute §559.72(7) by willfully communicating with the
debtor or any member of her or his family with such frequency as can reasonably be expected to
harass the debtor or his family. Defendants continued to call Plaintiff without Plaintiff’s prior
express consent and after Plaintiff informed Defendants to stop calling. Defendants called
Plaintiff almost daily which is a frequency that can be reasonably expected to harass.
48. Defendants violated Florida Statute §559.72(9) by claiming, attempting, or threatening to
enforce a debt when Defendants knew that the debt is was legitimate, or by asserting the
existence of some other legal right when the Defendants knew that the right did not exist.
Defendant continued to call Plaintiff without Plaintiff’s prior express consent and after Plaintiff
informed Defendant that she was not the alleged debtor that Defendants were attempting to
contact
49. Defendants actions have directly and proximately resulted in Plaintiff’s prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendants, FORTIVA FINANCIAL, LLC, and ATLANTICUS

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HOLDINGS CORPORATION for statutory damages, punitive, actual damages, treble
damages, costs, interest, and any other such relief the court may deem just and proper.

M
(Violation of the FDCPA)

50. Plaintiff incorporates Paragraphs one (1) through thirty-nine (3 9) above as if fully set
forth herein.
51. At all times relevant to this action Defendant is subject to and must abide by 15 U.S.C. §
1692 et seq.
52. Defendant violated 15 U.S.C. § 1692(d) by willfully engaging in conduct the natural
consequence of which is to harass, oppress, or abuse any person in connection with the
collection of a debt,

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendants, FORTIVA FINANCIAL, LLC, and ATLANTICUS HOLDINGS
CORPORATION for statutory damages, punitive damages, actual damages, treble damages,

costs, interest, and any other such relief the court may deem just and proper.

Respectfully submitted,

/s/ F rank H. Kerney III, Esq.
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